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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

KELLEN POWELL, et al.,                   )
                                         )
               Plaintiffs,               )
                                         )
vs.                                      )      Case No. 4:15 CV 840 RWS
                                         )
THE CITY OF ST. ANN,                     )
                                         )
               Defendant.                )

                                      ORDER

      IT IS HEREBY ORDERED that the status conference in this matter is

reset from Wednesday, April 25, 2018 to Monday, April 30, 2017 at 11:00 a.m.

in my chambers.




                                         RODNEY W. SIPPEL
                                         UNITED STATES DISTRICT JUDGE
Dated this 16th day of April, 2018.
